      Case 19-25255                 Doc 20        Filed 01/09/20 Entered 01/09/20 23:33:18                   Desc Imaged
                                                  Certificate of Notice Page 1 of 4
Information to identify the case:
Debtor 1              Antoinette A. Lesure                                        Social Security number or ITIN   xxx−xx−9101
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Northern District of Illinois

Case number: 19−25255



Order of Discharge                                                                                                         12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Antoinette A. Lesure

                                                                          For the court: Jeffrey P. Allsteadt, Clerk
           January 7, 2020                                                               United States Bankruptcy Court


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >




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Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




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                                               United States Bankruptcy Court
                                               Northern District of Illinois
In re:                                                                                                     Case No. 19-25255-DDC
Antoinette A. Lesure                                                                                       Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0752-1                  User: cward1                       Page 1 of 2                          Date Rcvd: Jan 07, 2020
                                      Form ID: 318                       Total Noticed: 24


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jan 09, 2020.
db             +Antoinette A. Lesure,    8649 S Keeler,    Apt 1,    Chicago, IL 60652-3613
28176540       +Cleophus Lesure,   2611 W. 82nd St.,     Chicago, IL 60652-2861
28176545       +Discover Personal Loans,    PO Box 15316,    Wilmington, DE 19850-5316
28176546       +FNB Omaha,   Bankruptcy Department,     PO Box 3437,    Omaha, NE 68103-0437
28191562       +Nationstar Mortgage LLC d/b/a Mr. Cooper,     c/o McCalla Raymer Leibert Pierce, LLC,
                 Bankruptcy Department,    1544 Old Alabama Road,     Roswell, GA 30076-2102
28195394       +Nationstar Mortgage LLC d/b/a Mr. Cooper,     c/o McCalla Raymer Leibert Pierce, LLC,
                 1 N. Dearborn Suite 1200,    Chicago IL 60602-4337
28176549       +Pacific Union Financial,    1603 Lyndon B. Johnson Fwy.,     Farmers Branch, TX 75234-6071
28176550       +Safeco Insurance Companies,    PO Box 6487,    Carol Stream, IL 60197-6487
28176551        Sallie Mae,   Bankruptcy Litigation Unit E3149,      PO Box 9430,   Wilkes Barre, PA 18773-9430

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
28176536        EDI: CAPITALONE.COM Jan 08 2020 07:33:00      Cap One,    15000 Capital One Dr,
                 Richmond, VA 23238
28176538        EDI: WFNNB.COM Jan 08 2020 07:33:00      CB/Avenue,    PO Box 330066,    NorthGlenn, CO 80233-8066
28176537       +EDI: CAPITALONE.COM Jan 08 2020 07:33:00      Cap One,    10700 Capital One Way,
                 Richmond, VA 23060-9243
28176539       +EDI: CHASE.COM Jan 08 2020 07:43:00      Chase Card,    Attn: Correspondence Dept,     Po Box 15298,
                 Wilmington, DE 19850-5298
28176541       +EDI: CCS.COM Jan 08 2020 07:43:00      Credit Collection Services,     725 Canton Street,
                 Norwood, MA 02062-2679
28176542        EDI: CRFRSTNA.COM Jan 08 2020 07:33:00      Credit First National Assoc.,     PO Box 81315,
                 Cleveland, OH 44181-0315
28176543       +E-mail/Text: group_legal@creditunion1.org Jan 08 2020 03:17:40        Credit Union 1,
                 450 E 22nd Street,   Lombard, IL 60148-6176
28176544        EDI: DISCOVER.COM Jan 08 2020 07:33:00      Discover Financial Services,     PO Box 15316,
                 Wilmington, DE 19850
28176547        EDI: PHINGENESIS Jan 08 2020 07:43:00      Genesis,    15220 NW GREENBRIER PKWY,     Suite 200,
                 Beaverton, OR 97006-5762
28176548        E-mail/Text: bncnotices@becket-lee.com Jan 08 2020 03:14:21        Kohl/Capital One,    PO Box 3115,
                 Milwaukee, WI 53201-3115
28176553        EDI: RMSC.COM Jan 08 2020 07:33:00      SYNCB/Care Credit,    Bankruptcy Department,
                 PO Box 965061,   Orlando, FL 32896-5061
28176554        EDI: RMSC.COM Jan 08 2020 07:33:00      SYNCB/SAM’S CLUB DC,     Bankruptcy Deptartment,
                 PO Box 965060,   Orlando, FL 32896-5060
28176552        EDI: NAVIENTFKASMSERV.COM Jan 08 2020 07:43:00       Sallie Mae,    PO Box 9500,
                 Wilkes Barre, PA 18773-9500
28179257       +EDI: RMSC.COM Jan 08 2020 07:33:00      Synchrony Bank,    c/o PRA Receivables Management, LLC,
                 PO Box 41021,   Norfolk, VA 23541-1021
28176555       +EDI: WFNNB.COM Jan 08 2020 07:33:00      WFNNB/Avenue,    Bankruptcy Department,     PO Box 182789,
                 Columbus, OH 43218-2789
                                                                                               TOTAL: 15

              ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jan 09, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING
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                             Form ID: 318                Total Noticed: 24


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on January 7, 2020 at the address(es) listed below:
              Dana N O’Brien   on behalf of Creditor   NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER
               dana.obrien@mccalla.com, NDistrict@mccalla.com
              David M Siegel   on behalf of Debtor 1 Antoinette A. Lesure davidsiegelbk@gmail.com,
               R41057@notify.bestcase.com;johnellmannlaw@gmail.com
              Deborah Kanner Ebner    dkebner@debnertrustee.com, dke@trustesolutions.net,
               IL53@ecfcbis.com;webmaster@debnertrustee.com;lizd@deborahebnerlaw.com
              Patrick S Layng   USTPRegion11.ES.ECF@usdoj.gov
              Paul B. Fichter   on behalf of Creditor   Credit Union 1 pfichter@creditunion1.org,
               lmichel@creditunion1.org;group_legal@creditunion1.org
              Toni Townsend    on behalf of Creditor   Nationstar Mortgage LLC d/b/a Mr. Cooper
               toni.townsend@mccalla.com, northerndistrict@mccalla.com
                                                                                            TOTAL: 6
